                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION
                                 No. 5:11-CT-3118-D



THOMAS HEYER,                              )
                                           )
                           Plaintift:      )
                                           )
                   v.                      )                       ORDER
                                           )
UNITED STATES BUREAU OF                    )
PRISONS, et al.,                           )
                                           )
                           Defendants.     )


        The court has reviewed the joint status report. See [D.E. 232]. Having considered plaintiff

Thomas Heyer's motion for entty of judgment [D.E. 222], the record, and Heyer v. United States

Bureau of Prisons, 984 F.3d 347 (4th Cir. 2021), the court GRANTS plaintiff's motion [D.E. 222]

and enters JUDGMENT in favor of plaintiff Thomas Heyer and against defendants.

       The court also ORDERS:

       Beginning within 14 days of the entry of this order, the Bureauof Pri~ons ("BOP") shall

provide Thomas Heyer at FCI Butner access to a videophone· in a manner that allows him to

communicate visually and directly (point-to-point) with deaf persons outside ofFCI Butner.

       BOP shall provide Thomas Heyer at FCI Butner access to the videophone in a manner that

is equivalent or at least substantially similar to non-deaf inmates' access to the telephone, including

but not limited to meaningful access on evenings and weekends.

       BOP shall ensure that the videophone has a high-speed internet connection sufficient to

support point-to-point videophone calls.




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         BOP also shall provide Thomas Heyer at FCI Butner access to the videophone whenever he

is placed in the special housing unit ("SHlI'') or the Annex in a manner that is equivalent or at least

substantially similar to non-deaf inmates' access to the telephone while placed in the SHU or the

Annex.

         The requirements of this order shall remain in effect so long as Thomas Heyer is in the

physical or legal custody of the BOP at FCI Butner. If Thomas Heyer leaves the BOP's custody at

FCI Butner and later returns to the BOP' s custody at FCI Butner, the requirements ofthis order shall

remain in effect upon his return and throughout the duration oftime he remains in the BOP's custody

at FCI Butner.

         The court DENIES as moot plaintiff's motion for reconsideration [D.E. 226] and DENIES

as moot defendants' motion to stay [D.E. 228].

         SO ORDERED. This 2-<, day of January, 2022.



                                                            JSC.DEVERill
                                                            United States District Judge




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